                                   Case 2:21-cv-02554-BMS Document 1 Filed 06/04/21 Page 1 of 34
JS 44 (Rev. 02/19)                                                         CIVIL COVER SHEET
The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)

I. (a) PLAINTIFFS                                                                                             DEFENDANTS
Horesha Reynolds                                                                                            United Financial Casualty Company

    (b) County of Residence of First Listed Plaintiff             Philadelphia, PA                            County of Residence of First Listed Defendant             Cuyahoga County, OH
                                  (EXCEPT IN U.S. PLAINTIFF CASES)                                                                   (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                              NOTE:      IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                         THE TRACT OF LAND INVOLVED.

    (c) Attorneys (Firm Name, Address, and Telephone Number)                                                   Attorneys (If Known)
Jay Lawrence Fulmer; 215-568-7200                                                                           Beth A. Carter, Esquire, Bennett, Bricklin & Saltzburg LLC Centre
1628 JFK Boulevard, Suite 1000                                                                              Square, West Tower, 1500 Market Street, 32nd, Philadelphia, Pa
Philadelphia, PA 19103                                                                                      19102, (215) 561-4300

II. BASIS OF JURISDICTION (Place an “X” in One Box Only)                                         III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff
                                                                                                          (For Diversity Cases Only)                                        and One Box for Defendant)
’ 1    U.S. Government                ’ 3     Federal Question                                                                     PTF       DEF                                           PTF      DEF
         Plaintiff                              (U.S. Government Not a Party)                        Citizen of This State         ’ 1       ’ 1       Incorporated or Principal Place       ’ 4     ’ 4
                                                                                                                                                         of Business In This State

’ 2    U.S. Government                ’ 4     Diversity                                              Citizen of Another State          ’ 2    ’    2   Incorporated and Principal Place    ’ 5     ’ 5
         Defendant                              (Indicate Citizenship of Parties in Item III)                                                             of Business In Another State

                                                                                                     Citizen or Subject of a           ’ 3    ’    3   Foreign Nation                      ’ 6     ’ 6
                                                                                                       Foreign Country
IV. NATURE OF SUIT (Place an “X” in One Box Only)                                                                                             Click here for: Nature of Suit Code Descriptions.
           CONTRACT                                             TORTS                                  FORFEITURE/PENALTY                         BANKRUPTCY                    OTHER STATUTES
’   110 Insurance                        PERSONAL INJURY                PERSONAL INJURY              ’ 625 Drug Related Seizure          ’ 422 Appeal 28 USC 158          ’ 375 False Claims Act
’   120 Marine                       ’   310 Airplane                 ’ 365 Personal Injury -              of Property 21 USC 881        ’ 423 Withdrawal                 ’ 376 Qui Tam (31 USC
’   130 Miller Act                   ’   315 Airplane Product               Product Liability        ’ 690 Other                               28 USC 157                       3729(a))
’   140 Negotiable Instrument                 Liability               ’ 367 Health Care/                                                                                  ’ 400 State Reapportionment
’   150 Recovery of Overpayment      ’   320 Assault, Libel &               Pharmaceutical                                                 PROPERTY RIGHTS                ’ 410 Antitrust
        & Enforcement of Judgment             Slander                       Personal Injury                                              ’ 820 Copyrights                 ’ 430 Banks and Banking
’   151 Medicare Act                 ’   330 Federal Employers’             Product Liability                                            ’ 830 Patent                     ’ 450 Commerce
’   152 Recovery of Defaulted                 Liability               ’ 368 Asbestos Personal                                            ’ 835 Patent - Abbreviated       ’ 460 Deportation
        Student Loans                ’   340 Marine                         Injury Product                                                     New Drug Application       ’ 470 Racketeer Influenced and
        (Excludes Veterans)          ’   345 Marine Product                 Liability                                                    ’ 840 Trademark                        Corrupt Organizations
’   153 Recovery of Overpayment               Liability                PERSONAL PROPERTY                         LABOR                     SOCIAL SECURITY                ’ 480 Consumer Credit
        of Veteran’s Benefits        ’   350 Motor Vehicle            ’ 370 Other Fraud              ’ 710 Fair Labor Standards          ’ 861 HIA (1395ff)               ’ 485 Telephone Consumer
’   160 Stockholders’ Suits          ’   355 Motor Vehicle            ’ 371 Truth in Lending                Act                          ’ 862 Black Lung (923)                 Protection Act
’   190 Other Contract                       Product Liability        ’ 380 Other Personal           ’ 720 Labor/Management              ’ 863 DIWC/DIWW (405(g))         ’ 490 Cable/Sat TV
’   195 Contract Product Liability   ’   360 Other Personal                 Property Damage                 Relations                    ’ 864 SSID Title XVI             ’ 850 Securities/Commodities/
’   196 Franchise                            Injury                   ’ 385 Property Damage          ’ 740 Railway Labor Act             ’ 865 RSI (405(g))                     Exchange
                                     ’   362 Personal Injury -              Product Liability        ’ 751 Family and Medical                                             ’ 890 Other Statutory Actions
                                             Medical Malpractice                                            Leave Act                                                     ’ 891 Agricultural Acts
        REAL PROPERTY                      CIVIL RIGHTS                PRISONER PETITIONS            ’ 790 Other Labor Litigation          FEDERAL TAX SUITS              ’ 893 Environmental Matters
’   210 Land Condemnation            ’   440 Other Civil Rights         Habeas Corpus:               ’ 791 Employee Retirement           ’ 870 Taxes (U.S. Plaintiff      ’ 895 Freedom of Information
’   220 Foreclosure                  ’   441 Voting                   ’ 463 Alien Detainee                 Income Security Act                  or Defendant)                   Act
’   230 Rent Lease & Ejectment       ’   442 Employment               ’ 510 Motions to Vacate                                            ’ 871 IRS—Third Party            ’ 896 Arbitration
’   240 Torts to Land                ’   443 Housing/                       Sentence                                                            26 USC 7609               ’ 899 Administrative Procedure
’   245 Tort Product Liability               Accommodations           ’ 530 General                                                                                             Act/Review or Appeal of
’   290 All Other Real Property      ’   445 Amer. w/Disabilities -   ’ 535 Death Penalty                  IMMIGRATION                                                          Agency Decision
                                             Employment                 Other:                       ’ 462 Naturalization Application                                     ’ 950 Constitutionality of
                                     ’   446 Amer. w/Disabilities -   ’ 540 Mandamus & Other         ’ 465 Other Immigration                                                    State Statutes
                                             Other                    ’ 550 Civil Rights                   Actions
                                     ’   448 Education                ’ 555 Prison Condition
                                                                      ’ 560 Civil Detainee -
                                                                            Conditions of
                                                                            Confinement
V. ORIGIN (Place an “X” in One Box Only)
’ 1 Original             ’ 2 Removed from                 ’ 3         Remanded from             ’ 4 Reinstated or       ’ 5 Transferred from     ’ 6 Multidistrict                  ’ 8 Multidistrict
    Proceeding               State Court                              Appellate Court               Reopened                Another District             Litigation -                   Litigation -
                                                                                                                        (specify)                        Transfer                      Direct File
                                          Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
                                          28 U.S.C 1332
VI. CAUSE OF ACTION Brief description of cause:
                                           Uninsured motorist claim
VII. REQUESTED IN     ’ CHECK IF THIS IS A CLASS ACTION                                                 DEMAND $                                   CHECK YES only if demanded in complaint:
     COMPLAINT:          UNDER RULE 23, F.R.Cv.P.                                                                                                  JURY DEMAND:         ’ Yes      ’ No
VIII. RELATED CASE(S)
                       (See instructions):
      IF ANY                               JUDGE                                                                                             DOCKET NUMBER
DATE                                                                     SIGNATURE OF ATTORNEY OF RECORD
06/03/2021                                                              /s/ Beth A. Carter
FOR OFFICE USE ONLY

    RECEIPT #                     AMOUNT                                     APPLYING IFP                                      JUDGE                          MAG. JUDGE

                 Print                               Save As...                                                                                                                  Reset
JS 44 Reverse (Rev. 02/19)   Case 2:21-cv-02554-BMS Document 1 Filed 06/04/21 Page 2 of 34

                     INSTRUCTIONS FOR ATTORNEYS COMPLETING CIVIL COVER SHEET FORM JS 44
                                                               Authority For Civil Cover Sheet

The JS 44 civil cover sheet and the information contained herein neither replaces nor supplements the filings and service of pleading or other papers as
required by law, except as provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is
required for the use of the Clerk of Court for the purpose of initiating the civil docket sheet. Consequently, a civil cover sheet is submitted to the Clerk of
Court for each civil complaint filed. The attorney filing a case should complete the form as follows:

I.(a)    Plaintiffs-Defendants. Enter names (last, first, middle initial) of plaintiff and defendant. If the plaintiff or defendant is a government agency, use
         only the full name or standard abbreviations. If the plaintiff or defendant is an official within a government agency, identify first the agency and
         then the official, giving both name and title.
  (b)    County of Residence. For each civil case filed, except U.S. plaintiff cases, enter the name of the county where the first listed plaintiff resides at the
         time of filing. In U.S. plaintiff cases, enter the name of the county in which the first listed defendant resides at the time of filing. (NOTE: In land
         condemnation cases, the county of residence of the "defendant" is the location of the tract of land involved.)
  (c)    Attorneys. Enter the firm name, address, telephone number, and attorney of record. If there are several attorneys, list them on an attachment, noting
         in this section "(see attachment)".

II.      Jurisdiction. The basis of jurisdiction is set forth under Rule 8(a), F.R.Cv.P., which requires that jurisdictions be shown in pleadings. Place an "X"
         in one of the boxes. If there is more than one basis of jurisdiction, precedence is given in the order shown below.
         United States plaintiff. (1) Jurisdiction based on 28 U.S.C. 1345 and 1348. Suits by agencies and officers of the United States are included here.
         United States defendant. (2) When the plaintiff is suing the United States, its officers or agencies, place an "X" in this box.
         Federal question. (3) This refers to suits under 28 U.S.C. 1331, where jurisdiction arises under the Constitution of the United States, an amendment
         to the Constitution, an act of Congress or a treaty of the United States. In cases where the U.S. is a party, the U.S. plaintiff or defendant code takes
         precedence, and box 1 or 2 should be marked.
         Diversity of citizenship. (4) This refers to suits under 28 U.S.C. 1332, where parties are citizens of different states. When Box 4 is checked, the
         citizenship of the different parties must be checked. (See Section III below; NOTE: federal question actions take precedence over diversity
         cases.)

III.     Residence (citizenship) of Principal Parties. This section of the JS 44 is to be completed if diversity of citizenship was indicated above. Mark this
         section for each principal party.

IV.      Nature of Suit. Place an "X" in the appropriate box. If there are multiple nature of suit codes associated with the case, pick the nature of suit code
         that is most applicable. Click here for: Nature of Suit Code Descriptions.

V.       Origin. Place an "X" in one of the seven boxes.
         Original Proceedings. (1) Cases which originate in the United States district courts.
         Removed from State Court. (2) Proceedings initiated in state courts may be removed to the district courts under Title 28 U.S.C., Section 1441.
         Remanded from Appellate Court. (3) Check this box for cases remanded to the district court for further action. Use the date of remand as the filing
         date.
         Reinstated or Reopened. (4) Check this box for cases reinstated or reopened in the district court. Use the reopening date as the filing date.
         Transferred from Another District. (5) For cases transferred under Title 28 U.S.C. Section 1404(a). Do not use this for within district transfers or
         multidistrict litigation transfers.
         Multidistrict Litigation – Transfer. (6) Check this box when a multidistrict case is transferred into the district under authority of Title 28 U.S.C.
         Section 1407.
         Multidistrict Litigation – Direct File. (8) Check this box when a multidistrict case is filed in the same district as the Master MDL docket. PLEASE
         NOTE THAT THERE IS NOT AN ORIGIN CODE 7. Origin Code 7 was used for historical records and is no longer relevant due to changes in
         statue.

VI.      Cause of Action. Report the civil statute directly related to the cause of action and give a brief description of the cause. Do not cite jurisdictional
         statutes unless diversity. Example: U.S. Civil Statute: 47 USC 553 Brief Description: Unauthorized reception of cable service

VII.     Requested in Complaint. Class Action. Place an "X" in this box if you are filing a class action under Rule 23, F.R.Cv.P.
         Demand. In this space enter the actual dollar amount being demanded or indicate other demand, such as a preliminary injunction.
         Jury Demand. Check the appropriate box to indicate whether or not a jury is being demanded.

VIII. Related Cases. This section of the JS 44 is used to reference related pending cases, if any. If there are related pending cases, insert the docket
      numbers and the corresponding judge names for such cases.


Date and Attorney Signature. Date and sign the civil cover sheet.
           Case 2:21-cv-02554-BMS Document 1 Filed 06/04/21 Page 3 of 34
                     IN THE UNITED STATES DISTRICT COURT FOR THE
                        EASTERN DISTRICT OF PENNSYLVANIA

HORESHA REYNOLDS                                 :
                                                         2:21-CV-02554
            v.                                   :
                                                 :
UNITED FINANCIAL CASUALTY                        :
COMPANY                                          :
                                                 :
                                                 :


                     CASE MANAGEMENT TRACK DESIGNATION FORM


 In accordance with the Civil Justice Expense and Delay Reduction Plan of this court, counsel for
 plaintiff shall complete a case Management Track Designation Form in all civil cases at the time of filing
 the complaint and serve a copy on all defendants. (See § 1:03 of the plan set forth on the reverse side
 of this form.) In the event that a defendant does not agree with the plaintiff regarding said designation,
 that defendant shall, with its first appearance, submit to the clerk of court and serve on the plaintiff and
 all other parties, a case management track designation form specifying the track to which that defendant
 believes the case should be assigned.

 SELECT ONE OF THE FOLLOWING CASE MANAGEMENT TRACKS:

 (a) Habeas Corpus – Cases brought under 28 U.S.C. §2241 through §2255.                                  ( )

 (b) Social Security – Cases requesting review of a decision of the Secretary of Health
     and Human Services denying plaintiff Social Security Benefits                                       ( )

 ( c) Arbitration – Cases required to be designated for arbitration under Local Civil Rule 53.2.        ( X)

 (d) Asbestos – Cases involving claims for personal injury or property damage from
     exposure to asbestos.                                                                               ( )

 (e) Special Management – Cases that do not fall into tracks (a) through (d) that are
     commonly referred to as complex and that need special or intense management by
     the court. (See reverse side of this form for a detailed explanation of special
     management cases.)                                                                                  ( )

 (f) Standard Management – Cases that do not fall into any one of the other tracks.                     ( )



June 4, 2021      /s/ Beth A. Carter_______                   Attorney for Defendant
Date                   Beth A. Carter, Esquire               United Financial Casualty Company

 (215) 561-4300                (215) 561-6661                    carter@bbs-law.com
Telephone                      FAX Number                      E-Mail Address
                             Case 2:21-cv-02554-BMS
                                                UNITED Document   1 Filed
                                                       STATES DISTRICT    06/04/21 Page 4 of 34
                                                                       COURT
                                                      FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                                                                          DESIGNATION FORM
                    (to be used by counsel or pro se plaintiff to indicate the category of the case for the purpose of assignment to the appropriate calendar)

                                        2182 Homer Street, Philadelphia, PA 19138
Address of Plaintiff: ______________________________________________________________________________________________
                                   6300 Wilson Mills Rd., Mayfield Village, OH 44143
Address of Defendant: ____________________________________________________________________________________________
                                                                       Philadelphia, PA
Place of Accident, Incident or Transaction: ___________________________________________________________________________


RELATED CASE, IF ANY:

Case Number: ______________________________                     Judge: _________________________________                     Date Terminated: ______________________

Civil cases are deemed related when Yes is answered to any of the following questions:

1.     Is this case related to property included in an earlier numbered suit pending or within one year                         Yes                    No   ✔
       previously terminated action in this court?

2.     Does this case involve the same issue of fact or grow out of the same transaction as a prior suit                        Yes                    No   ✔
       pending or within one year previously terminated action in this court?

3.     Does this case involve the validity or infringement of a patent already in suit or any earlier
       numbered case pending or within one year previously terminated action of this court?
                                                                                                                                Yes                    No   ✔
4.     Is this case a second or successive habeas corpus, social security appeal, or pro se civil rights                        Yes                    No    ✔
       case filed by the same individual?

I certify that, to my knowledge, the within case             is /   ●   is not related to any case now pending or within one year previously terminated action in
this court except as noted above.
           06/03/2021
DATE: __________________________________                                     Must sign here
                                                             __________________________________________                                         85632
                                                                                                                              ___________________________________
                                                                         Attorney-at-Law / Pro Se Plaintiff                                Attorney I.D. # (if applicable)


CIVIL: (Place a √ in one category only)

A.            Federal Question Cases:                                                       B.   Diversity Jurisdiction Cases:

      1.     Indemnity Contract, Marine Contract, and All Other Contracts                      1.    Insurance Contract and Other Contracts
      2.     FELA                                                                              2.    Airplane Personal Injury
      3.     Jones Act-Personal Injury                                                         3.    Assault, Defamation
      4.     Antitrust                                                                         4.    Marine Personal Injury
      5.     Patent                                                                        
                                                                                            ✔    5.    Motor Vehicle Personal Injury
      6.     Labor-Management Relations                                                        6.    Other Personal Injury (Please specify): _____________________
      7.     Civil Rights                                                                      7.    Products Liability
      8.     Habeas Corpus                                                                     8.    Products Liability – Asbestos
      9.     Securities Act(s) Cases                                                           9.    All other Diversity Cases
      10.    Social Security Review Cases                                                             (Please specify): ____________________________________________
      11.    All other Federal Question Cases
              (Please specify): ____________________________________________



                                                                            ARBITRATION CERTIFICATION
                                                  (The effect of this certification is to remove the case from eligibility for arbitration.)

I, ____________________________________________, counsel of record or pro se plaintiff, do hereby certify:

             Pursuant to Local Civil Rule 53.2, § 3(c) (2), that to the best of my knowledge and belief, the damages recoverable in this civil action case
              exceed the sum of $150,000.00 exclusive of interest and costs:

             Relief other than monetary damages is sought.


DATE: __________________________________                                   Sign here if applicable
                                                             __________________________________________                       ___________________________________
                                                                         Attorney-at-Law / Pro Se Plaintiff                               Attorney I.D. # (if applicable)

NOTE: A trial de novo will be a trial by jury only if there has been compliance with F.R.C.P. 38.

Civ. 609 (5/2018)
            Case 2:21-cv-02554-BMS Document 1 Filed 06/04/21 Page 5 of 34




                  IN THE UNITED STATES DISTRICT COURT FOR THE
                       EASTERN DISTRICT OF PENNSYLVANIA

HORESHA REYNOLDS                              :
            v.                                :
                                                          2:21-CV-02554
                                              :
UNITED FINANCIAL CASUALTY                     :
COMPANY                                       :
                                              :
                                              :

                                    NOTICE OF REMOVAL

       AND NOW, comes the defendant, United Financial Casualty Company, for the purpose of

filing a notice of removal of this case to the United States District Court for the Eastern District of

Pennsylvania, and respectfully avers as follows:

       1.      This is a civil action filed and currently pending in the Court of Common Pleas of

Philadelphia County, Pennsylvania, December Term 2020. No. 00227.

       2.      Plaintiff Horesha Reynolds [hereinafter “Plaintiff”] initiated this action via a Writ

of Summons filed on December 8, 2020. A true and correct copy of the Writ of Summons is attached

hereto as Exhibit A.

       3.      Plaintiff filed a Complaint on May 25, 2021. A true and correct copy of the

Complaint is attached hereto as Exhibit B.

       4.      The averments made herein are true and correct with respect to the date and time

upon which suit was commenced, and the date upon which this notice is filed.

       5.      Defendant seeks to remove this matter to the United States District Court for the

Eastern District of Pennsylvania pursuant to 28 U.S.C. §1446(b).
              Case 2:21-cv-02554-BMS Document 1 Filed 06/04/21 Page 6 of 34




         6.      28 U.S.C. §1446(b) provides that:

         The notice of removal of a civil action or proceeding shall be filed within
         thirty days after the receipt by the defendant, through service or otherwise,
         of a copy of the initial pleading setting forth the claim for relief upon which
         such action or proceeding is based.

         7.      As the moving party, Defendant bears the burden of proving that jurisdiction is

proper in federal court. Russ vs. State Farm Mut. Auto. Ins. Co., 961 F.Supp. 808, 810 (E.D. Pa.

1997).

         8.      In determining whether the jurisdiction amount has been satisfied, the Court must

first look at the Complaint. Angus vs. Shiley, Inc., 989 F.2d 142, 145 (3rd Circ. 1993).

         9.      The Writ of Summons alleges that Plaintiff is a resident and citizen of the

Commonwealth of Pennsylvania. See Writ of Summons.

         10.     Plaintiff does not allege any alternative state of residence.

         11.     Accordingly, upon information and belief, the Commonwealth of Pennsylvania is

the state in which Plaintiff is domiciled and, therefore, the state of which Plaintiff is a citizen for

purposes of determining diversity.

         12.     Defendant is now, and was at the time this action was initiated, a corporation

organized under the laws of the State of Ohio, with a principal place of business located at 6300

Wilson Mills Rd., Mayfield Village, OH 44143.

         13.     Therefore, Defendant is a citizen of Ohio for purposes of determining diversity

pursuant to 28 U.S.C. § 1332(c)(1).
          Case 2:21-cv-02554-BMS Document 1 Filed 06/04/21 Page 7 of 34




       14.     The underlying lawsuit arises out of an alleged motor vehicle accident of October

10, 2019. See Complaint at ¶ 7-10. Plaintiff is claiming uninsured motorist benefits for personal

injuries she alleged she sustained in this motor vehicle accident.

       15.     The amount in controversy listed in the Complaint is in excess of $50,000.00.

       16.     Plaintiff is claiming serious, severe, and permanent injuries to the head, neck, body,

and limbs as well as exacerbation and/or aggravation of then existing conditions, and further injury

to her body systems and organs and multiple related injuries; together with severe shock to

plaintiff's nerves and nervous systems; some or all of which are or may be permanent in nature. See

Complaint at ¶ 13 and 14. From review of medical records, it appears plaintiff is alleging: post-

concussion syndrome; impingement syndrome and bursitis of the right shoulder, cervicalgia, C5-6

cervical disc protrusion and radiculopathy.

       17.     Defendant maintains that it has met its burden that diversity jurisdiction is proper,

based upon the claims asserted in the complaint and the potential damages claimed outlined therein

       18.     This Notice of Removal was timely filed within 30 days of the effective date of

service of the Complaint on Defendant.

       19.     Defendant has, simultaneously with the filing of this notice, given written notice to

Plaintiff of the same.

       20.     Defendant is also filing a copy of the instant notice of removal and all relevant

attachments thereto with the Prothonotary of the Court of Common Pleas of Philadelphia County.
          Case 2:21-cv-02554-BMS Document 1 Filed 06/04/21 Page 8 of 34




       WHEREFORE, United Financial Casualty Company hereby removes this suit to this

Honorable Court pursuant to the laws of the United States.



                                            BENNETT, BRICKLIN & SALTZBURG LLC



                                     BY:
                                            BETH A. CARTER, ESQUIRE
                                            I.D. No. 85632
                                            Centre Square, West Tower
                                            1500 Market Street, 32nd Floor
                                            Philadelphia, PA 19102
                                            (215) 561-4300
                                            carter@bbs-law.com
          Case 2:21-cv-02554-BMS Document 1 Filed 06/04/21 Page 9 of 34




                IN THE UNITED STATES DISTRICT COURT FOR THE
                     EASTERN DISTRICT OF PENNSYLVANIA

HORESHA REYNOLDS                           :
            v.                             :
                                           :     2:21-CV-2554
UNITED FINANCIAL CASUALTY                  :
COMPANY                                    :
                                           :
                                           :

                                  NOTICE TO PLAINTIFF

TO:    Horesha Reynolds
       c/o Jay Lawrence Fulmer
       8 Penn Center
       1628 JFK Boulevard, Suite 1000
       Philadelphia, PA 19103

        Please take notice that defendant, United Financial Casualty Company, by and through its
attorneys Bennett, Bricklin & Saltzburg LLC, has filed a Notice of Removal in the United States
District Court for the Eastern District of Pennsylvania regarding an action previously pending in
the Court of Common Pleas of Philadelphia County, December Term 2020, No. 00227 captioned
Horesha Reynolds v United Financial Casualty Company.

                                               BENNETT, BRICKLIN & SALTZBURG LLC



                                    BY:
                                               BETH A. CARTER, ESQUIRE
                                               Attorney for Defendant
          Case 2:21-cv-02554-BMS Document 1 Filed 06/04/21 Page 10 of 34




                     IN THE UNITED STATES DISTRICT COURT FOR THE
                          EASTERN DISTRICT OF PENNSYLVANIA

 HORESHA REYNOLDS                           :
             v.                             :      2:21-CV-2554
                                            :
 UNITED FINANCIAL CASUALTY                  :
 COMPANY                                    :
                                            :
                                            :


                                      PROOF OF FILING

COMMONWEALTH OF PENNSYLVANIA                         :

COUNTY OF PHILADELPHIA                                      :

        Beth A. Carter, Esquire, being duly sworn according to law, deposes and says that she is a

member of the law firm of Bennett, Bricklin & Saltzburg LLC, attorneys for defendant, United

Financial Casualty Company, and that she did direct the filing with the Prothonotary of Philadelphia

County a copy of the Notice of Removal attached hereto, said filing to be made on June 3, 2021 by

electronic filing.

        Jay Lawrence Fulmer
        8 Penn Center
        1628 JFK Boulevard, Suite 1000
        Philadelphia, PA 19103



Dated: June 4, 2021           BENNETT, BRICKLIN & SALTZBURG LLC



                                      BY:
                                                BETH A. CARTER, ESQUIRE
                                                Attorney for Defendant
         Case 2:21-cv-02554-BMS Document 1 Filed 06/04/21 Page 11 of 34




                 IN THE UNITED STATES DISTRICT COURT FOR THE
                      EASTERN DISTRICT OF PENNSYLVANIA

       Jay Lawrence Fulmer
       8 Penn Center
       1628 JFK Boulevard, Suite 1000
       Philadelphia, PA 19103

COMMONWEALTH OF PENNSYLVANIA                         :
                                                                                §
COUNTY OF PHILADELPHIA                               :

       Beth A. Carter, Esquire, after being first duly sworn upon oath, deposes and says that she is
a member of the law firm of Bennett, Bricklin & Saltzburg LLC, attorneys for the defendant, United
Financial Casualty Company, that she did serve this 4th day of June 2021, the aforementioned
Notice to plaintiff upon the individual named below by electronic mail to:
       Jay Lawrence Fulmer
       8 Penn Center
       1628 JFK Boulevard, Suite 1000
       Philadelphia, PA 19103




Dated: June 4, 2021                  BENNETT, BRICKLIN & SALTZBURG LLC



                                     BY:
                                             BETH A. CARTER, ESQUIRE
                                             Attorney for Defendant
Case 2:21-cv-02554-BMS Document 1 Filed 06/04/21 Page 12 of 34




              Exhibit A
         Case 2:21-cv-02554-BMS Document 1 Filed 06/04/21 Page 13 of 34




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                                                   *
                                                          MAJOR JURY / EXPEDITED
                                                   *
                                                          ASSESSMENT OF DAMAGES
                                                          HEARING IS REQUIRED
    Law Offices
    JAY LAWRENCE FULMER
    e-mail: jay.fulmer@gmail.com
    Identification No. 24588
    8 Penn Center                                         Attorney for Plaintiff
    1628 JFK Boulevard, Suite 1000
    Philadelphia, PA 19103-2125
    215-568-7200 / Fax: 215-751-9739


    HORESHA REYNOLDS-                                     COURT OF COMMON PLEAS
    2182 Homer Street                                     PHILADELPHIA COUNTY
    Philadelphia, PA   19138


         vs.                                              DECEMBER TERM, 2020



/   UNITED FINANCIAL
    CASUALTY COMPANY
                                                          NO. 227


    5920 Landerbrook Drive
    Mayfield Heightts, OH 44143




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TO THE PROTHONOTARY / OFFICE OF JUDICIAL RECORDS
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                                                                                                            Ll.

                                                                                                            Q
Kindly reissue Writ of Summons - Civil Action as filed in this matter originally                            LU
                                                                                                            Z
                                                                                                            Z
on December 8, 2020, 2020, as to                                                                            <
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                                                                                      Case ID: 201200227
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- UNITED FINANCIAL CASUALTY COMPANY, Defendant herein


Service of process to be made sec. leg. upon said defendant.


I hereby certify that all FJD charges and surcharges have been paid.




                                      Respectfully submitted,
                                      I hereby certify pursuant to Pa.R.C.P. 205.4 that a
                                      hard copy hereof was properly signed and, where
                                      applicable, verified.   Isl JLF



                                      JAY LAWRENCE FULMER, ESQUIRE
                                      ATTORNEY FOR PLAINTIFF




DATE: DECEMBER          .2020


SERVICE PURSUANT TO Pa.R.C.P.




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 C.P.97
                                                                                      SUMMONS
                      (                            of Penttsglfmma                      TAcion
                                    CITY AND COUNTY OF PHILADELPHIA
                                                                       Filed ahd Atj&ateti by     the
                                                                      Office              fibcc
      HORESHA REYNOLDS                                   COURT OF COMMOI                    f Pm
      2182 Homer Street
      Philadelphia, PA 19138



                                                         No.



/
                              vs.


      UNITED FINANCIAL
      CASUALTY COMPANY                                           REISSUED
      747 Alpha Drive
      Highland Hts, OH 04413

To(1)
 UNITED FINANCIAL
 CASUALTY COMPANY
 747 Alpha Drive
 Highland Hts, OH 04413




You are notified that the Plaintiff2'
Usted esta avisado que el demandante'2'
    HORESHA REYNOLDS
    2182 Homer Street
    Philadelphia, PA 19138




Has (have) commenced an action against you.
Ha ( han ) iniciado una accion en contra suya.




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(1) Name(s) of Defendant(s)                       Date
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(2) Name(s) of Plaintiff(s)

10-208 (Rev. 6/00)
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              Exhibit B
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                                                                    Filed and Attested by the
                                             e-filed               Office of Judicial Records
                                                                       25 MAY 2021 11:19 am
                                                                            A. STAMATO



                                                     *   MAJOR JURY / EXPEDITED
                                                     *   ASSESSMENT OF DAMAGES
                                                         HEARING IS REQUIRED
Law Offices
JAY LAWRENCE FULMER
e-mail: jay.fulmer@gmail.com
Identification No. 24588
8 Penn Center                                            Attorney for Plaintiff
1628 JFK Boulevard, Suite 1000
Philadelphia, PA 19103-2125
215-568-7200 / Fax: 215-751-9739
-----------------------------------------------------
HORESHA REYNOLDS-                                    :   COURT OF COMMON PLEAS
                                                     :   PHILADELPHIA COUNTY
                                                     :
        vs.                                          :   DECEMBER TERM, 2020
                                                     :
UNITED FINANCIAL                                     :   NO. 227
CASUALTY COMPANY                                     :



                       Complaint in Civil Action
          [           CODE 2V -- MOTOR VEHICLE ACCIDENT                          ]
          [ POST- KOKEN UNINSURED MOTORIST (UM) LITIGATION ]




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                            NOTICE TO DEFEND                                                                   El AVISO DE DEFENDERLE

You have been sued in court. If you wish to defend against the claims set forth in    Se ha demandado en corte. Si usted desea defender contra las demandas
the following pages, you must take action within twenty (20) days after this          dispuestas en las páginas siguientes, usted debe tomar la acción en el plazo de
complaint and notice are served, by entering a written appearance personally or       veinte (20) días después de esta queja y el aviso es servido, incorporando un
by attorney and filing in writing with the court your defenses or objections to the   aspecto escrito personalmente o por el abogado y archivando en escribir con la
claims set forth against you. You are warned that if you fail to do so the case       corte sus defensas u objeciones a las demandas dispuestas contra usted. Le
may proceed without you and a judgment may be entered against you by the              advierten que que si usted no puede hacer así que el caso puede proceder sin
Court without further notice for any money claimed in the complaint or for any        usted y un juicio se puede incorporar contra usted por la corte sin aviso adicional
claim or relief requested by the Plaintiff. You may lose money or property or         para cualquier dinero demandado en la queja o para cualquier demanda o
other rights important to you.                                                        relevación pedida por el demandante. Usted puede perder el dinero o la
                                                                                      característica u otra endereza importante a usted.

YOU SHOULD TAKE THIS PAPER TO YOUR LAWYER AT ONCE. IF YOU                             USTED DEBE LLEVAR ESTE PAPEL SU ABOGADO INMEDIATAMENTE.
DO NOT HAVE A LAWYER, TELEPHONE THE OFFICE SET FORTH                                  SI USTED NO TIENE Un ABOGADO, LLAME POR TELÉFONO La
BELOW TO FIND OUT WHERE YOU CAN GET LEGAL HELP.                                       OFICINA DISPUESTA ABAJO PARA DESCUBRIR DÓNDE USTED PUEDE
                                                                                      CONSEGUIR AYUDA LEGAL.

IF YOU CANNOT AFFORD A LAWYER, THIS OFFICE MAY BE ABLE TO                             SI USTED NO PUEDE PERMITIRSE A un ABOGADO, ESTA OFICINA
PROVIDE YOU WITH INFORMATION ON AGENCIES THAT MAY OFFER                               PUEDE PODER PROVEER DE USTED LA INFORMACIÓN EN LAS
LEGAL SERVICES TO ELIGIBLE PERSONS AT A REDUCED FEE OR NO                             AGENCIAS QUE LOS SERVICIOS JURÍDICOS de la OFERTA de MAYO A
FEE.                                                                                  LAS PERSONAS ELEGIBLES EN Un HONORARIO REDUCIDO O
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                PHILADELPHIA BAR ASSOCIATION                                                      ASOCIACION DE LICENCIADOS DE FILADELFIA
           LAWYER REFERRAL AND INFORMATION SERVICE                                              SERVICIO DE REFERENCIA E INFORMACION LEGAL
                         One Reading Center                                                                     One Reading Center
                   Philadelphia, Pennsylvania 19107                                                        Filadelfia, Pennsylvania 19107
                      Telephone (215) 238-1701                                                               Telefono: (215) 238-1701.




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                           COMPLAINT IN CIVIL ACTION

                     HORESHA REYNOLDS, Plaintiff
          v. UNITED FINANCIAL CASUALTY COMPANY, Defendant



1.    Plaintiff, HORESHA REYNOLDS, is an adult individual currently

residing at the above captioned address. At all times material hereto, Plaintiff

was a ride-share paying passenger in an insured “Lyft, Inc.” vehicle when

involved in the subject motor vehicle collision on OCTOBER 10, 2019,

suffering the injuries, damages and losses, all as more fully described

hereinafter.



2.    At all times material hereto, Plaintiff, HORESHA REYNOLDS, did not

own a motor vehicle, and she was not a resident relative in any household with

an individual who owned a motor vehicle, and she was not otherwise covered

by a policy of auto insurance that would afford benefits to her under law.

Accordingly, she executed an “Affidavit of No Insurance” on October 28,

2019 pursuant to law, which was submitted to the defendant insurer to

establish her eligibility for both First Party Medical Benefits and for

Uninsured Motorist (UM) benefits. A true and copy of same is attached

hereto, made a part hereof ,and marked as EXHIBIT “A.”



3.    Defendant, UNITED FINANCIAL CASUALTY COMPANY, is a

corporation duly licensed to transact insurance business in the Commonwealth

of Pennsylvania, and said defendant regularly and continually conducts and

transacts business in the City of Philadelphia. with the subject policy delivered


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in Philadelphia. Accordingly, for this and other reasons as more fully set forth

herein, venue in the First Judicial District is entirely proper pursuant to

Pa.R.C.P. 2179.



4.    Defendant, UNITED FINANCIAL CASUALTY COMPANY, at all times

material hereto acted by and through its agents, servants, workmen and/or

employees, who at all times acted on its behalf and in furtherance of its

insurance business in the course and scope of their respective agency and/or

employment. The defendant insurer owes Plaintiff, as an Insureds, fiduciary

duties under applicable law.



5.    Pennsylvania law requires that Lyft, Inc., be treated as a “common

carrier” and accordingly it owed certain duties to every passenger.



6.    Defendant, UNITED FINANCIAL CASUALTY COMPANY, is an entity,

part of the PROGRESSIVE INSURANCE group of companies, with a registered

address at the above captioned address, regulated by the Insurance

Department of the Commonwealth of Pennsylvania to provide insurance

benefits, on a primary basis, including but not limited to PIP benefits and First

Party Medical Benefits and Uninsured Motorist (UM) benefits for those

claimants who, through no fault of their own, have no other source of

insurance coverage.



      Please see the exhibits attached hereto and made a part hereof and

consisting of a true and correct copy of the pertinent insurance policy

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Declarations Pages, EXHIBIT “B” together with the UM/UIM Supplemental

coverage endorsement, EXHIBIT “C” [Form Z946 P23 PA (07/19)].



      The applicable policy number is 06254914-0 and all coverages were in

effect for the period of “Oct 01, 2019 through Oct 01, 2020”. The UM

coverage limit for Part III - Uninsured/Underinsured Motorist coverage is

stated to be increased to $250,000 per accident, as is set forth therein.

Under the Rules of Court, the complete policy and the contract “jacket” is in

the defendant’s Underwriting Dept. and full production has been requested.



7.    On or about OCTOBER 10, 2019, at approximately 3:16 PM, the

Plaintiff, HORESHA REYNOLDS, was a lawful passenger when involved in the

subject motor vehicle collision, suffering the injuries, damages and losses, all

as more fully described hereinafter.



      This accident was a rear-end collision when the Lyft vehicle was struck

in the rear, from the rear, by the front of another vehicle, the identity of which

and the driver of which, being the “tortfeasor,” are all unknown.



      The location of the collision was within the City of Philadelphia,

Commonwealth of Pennsylvania. and is set forth with a multitude of details in

the records of defendant-insurer, and in particular, the Lyft phone application

(the “App.”) of the host vehicle driver, one HAMID AMMY, pertaining to the

subject vehicle, an insured Chevrolet Malibu.



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8.    At the aforesaid time and place, the vehicle which unlawfully struck the

aforesaid subject Lyft, Inc., insured, Chevrolet Malibu, then immediately fled

the scene in violation of Vehicle Code.



9.    Upon and following the occurrence of the collision as aforesaid, data was

recorded by the Lyft App and the aforesaid driver duly notified Lyft, Inc and the

defendant-insurer.



10.   As a result of the aforesaid collision, Plaintiff HORESHA REYNOLDS

sustained serious, severe, and possibly permanent injuries, as more fully

described below.



11.   The subject motor vehicle accident resulted solely from the carelessness,

recklessness and/or negligence of the unidentified tortfeasor and was due in no

manner whatsoever to any act or omission on behalf of the Plaintiff.



12.   The carelessness, recklessness and negligence of the tortfeasor, all as

aforesaid, consisted of, but was not limited to, the following:

      (a)    Failing to have the tortfeasor’s motor vehicle under proper and

      adequate control;

      (b)    Operating the tortfeasor’s motor vehicle at an excessive rate of

      speed under the circumstances;

      (c)    Failing to take due note of the point and position of the vehicle in

      which plaintiff HORESHA REYNOLDS was a passenger, all while it was

      lawfully being operated upon the highway;

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      (d)    Failing to sound warning;

      (e)    Violating the applicable statutes of the Commonwealth of

      Pennsylvania and local ordinances pertaining to the operation of motor

      vehicles upon the public highways under the circumstances;

      (f)    Failing to properly maintain and/or properly inspect and/or

      properly repair said tortfeasor’s motor vehicle and said vehicle’s

      component parts and units;

      (g)    Failing to properly use the tortfeasor’s motor vehicles’ component

      parts while said vehicle was upon the highway;

      (h)    Being otherwise careless, reckless and negligent under the

      circumstances as may appear in the course of discovery to be conducted

      pursuant to the Rules of Civil Procedure or at the time of trial.



13.   As a direct, proximate, and foreseeable result of the carelessness and/or

negligence of the unidentified tortfeasor, Plaintiff, HORESHA REYNOLDS, has

sustained serious and/or permanent injuries to her person, and/or serious

impairment of body function of including, but not limited to injuries to her

body and limbs, as well as other ills and injuries.



14.   As a result of the accident aforementioned, plaintiff sustained injuries

including but not limited to injuries to plaintiff's head, neck, body and limbs,

as well as exacerbation and/or aggravation of then existing conditions, and

further injury to her body systems and organs and multiple related injuries;

together with severe shock to plaintiff's nerves and nervous systems; some or

all of which are or may be permanent in nature.

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15.   As a further result of the accident aforementioned, plaintiff has

undergone great physical pain and mental anguish and plaintiff will continue

to suffer same for an indefinite time in the future, to plaintiff's great detriment

and loss.



16.   As a further result of the negligence of the unidentified tortfeasor,

Plaintiff, HORESHA REYNOLDS has been and will be required to receive and

undergo medical attention and care and/or to expend various sums of money

and/or to incur various expenses which are recoverable damages herein under

the PaMVFRL, and she will be required to expend such sums and/or incur

such expenses for an indefinite time in the future, for which Plaintiff makes

claim in this litigation.



17.   As a further result of the aforesaid accident, Plaintiff, has been in the

past and will in the future be obliged to expend large sums of money, and, has

been in the past and probably will in the future be unable to attend to her daily

and usual occupation, to her great financial detriment and loss.



18.   As a further result of the negligence of the unidentified tortfeasor,

Plaintiff, HORESHA REYNOLDS, has suffered physical pain, emotional

suffering, mental anguish and inconvenience, and he has suffered an

impairment of her ability to enjoy all of life’s pleasures, all of which will

continue for an indefinite period of time in the future, all to her great detriment

and loss, for which Plaintiff makes claim in this litigation.

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19.   As a result of the aforesaid, Plaintiff has in the past and will in the future

suffer the loss of life's pleasures.



20.   As a result of the aforesaid, Plaintiff has in the past and will in the future

suffer embarrassment and humiliation.



21.   Plaintiff’s Civil Action is brought pursuant to and in accordance with all

applicable motor vehicle codes and all applicable insurance laws, including but

not limited to the Pennsylvania Vehicle Code, at Title 75; and the

Pennsylvania Motor Vehicle Financial Responsibility Law, (PaMVFRL), the

Act of February 12, 1984, P.L. 26, No. 11, 75 Pa.C.S. §1701 et seq., as

amended; as well as the Rideshare statutory scheme enacted in two

statutes pertaining to “Transportation Network Companies” and

“Transportation Network Service[es],” codified at 53 Pa.C.S. § 57A07 and

66 Pa.C.S. § 2603.1 respectively.



22.   Plaintiff is entitled to the protection afforded by the option known as the

“FULL TORT OPTION” by virtue of her being, at all times material hereto, a

rideshare passenger in the Lyft vehicle operated by HAMID AMMY, on the

App, and by operation of law. Therefore, at the time of the subject collision

Plaintiff was insured in accordance with the law, and under the automobile

insurance policy applicable to the said LYFT vehicle, he was legally entitled to

“FULL TORT” coverage, and therefore, she has and retains the unrestricted



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right to recover against the defendants for both non-economic damages and

economic damages.



23.   All premiums were paid as and when due and in the amounts due as

requested from time to time by the defendant, UNITED FINANCIAL CASUALTY

COMPANY.



24.   The insurance policy in effect as of the date of the aforesaid accident did

NOT contain any mandatory Arbitration Clause; and thus this litigation at the

option of the plaintiff is permitted and was elected after UNITED FINANCIAL

CASUALTY COMPANY refused and failed to negotiate in good faith, and reach

agreement on the sum of fair compensatory damages. In the alternative, any

arbitration clause that defendant may assert binds the plaintiff as a rideshare

passenger is contrary to law, and/or is a contract of adhesion, and/or is

regularly waived and/or non-enforced as shall be evident through a judicial

review of similar UM/UIM litigation filed in the Commonwealth of Pennsylvania

against this defendant and other insurers in the PROGRESSIVE INSURANCE

group of companies.



25.   The aforesaid policy in effect as of the date of the aforesaid accident did

NOT have a Venue or forum selection clause that would preclude the plaintiff’s

selection of the First Judicial District in which to commence this civil action in

accordance with applicable law, including the statutes of the Commonwealth of

Pennsylvania and any and all applicable Pennsylvania Rules of Civil Procedure.



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26.   This litigation is for UNINSURED MOTORIST (UM) BENEFITS, with the

amount of money damages to be determined by the trier of fact, a Jury, in the

Court of Common Pleas, of Philadelphia County, First Judicial District, as

mandated by the Supreme Court of Pennsylvania decision in Insurance

Federation of Pennsylvania, Inc. v. Insurance Commissioner, Diane

Koken, 585 Pa. 630, 889 A.2d 550 (Pa. 2005).



27.   Defendant insurance carrier is not entitled to any credit against the face

amount of $250,000 CSL (“combined single limit”) in UM coverage here

applicable, and in accordance with applicable law.



28.   All conditions precedent to this litigation in Your Honorable Court upon

the policy, the contract of insurance, have been fully met, satisfied, or waived.



29.   Defendant, UNITED FINANCIAL CASUALTY COMPANY, provided its

written consent by an authorized claim representative to an amicable

settlement reached with the tortfeasor and the liability carrier.



30.   Further, the Defendant, UNITED FINANCIAL CASUALTY COMPANY,

provided its written waiver of any right of subrogation that it ever had against

the tortfeasor by its authorized representative’s letter.



31.   UNITED FINANCIAL CASUALTY COMPANY breached its duties to its

Insured, the Plaintiff, under Pennsylvania law and this lawsuit was required to

be filed for a determination and finally, payment, of the full measure of money

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damages owed to Plaintiff under the UM coverage purchased for additional

premiums.



32.   This civil action against UNITED FINANCIAL CASUALTY COMPANY for

UNINSURED MOTORIST (UM) BENEFITS has been commenced well within

the applicable statute of limitations.



      WHEREFORE, plaintiff, HORESHA REYNOLDS, demands judgment in

her favor and against defendant-insurer, UNITED FINANCIAL CASUALTY

COMPANY, for compensatory money damages for Uninsured Motorist (UM)

benefits, for a sum in excess of FIFTY THOUSAND ($50,000.00) DOLLARS,

plus costs and such other relief which the Court may deem just and

appropriate.


                                          Respectfully submitted,
                                          I hereby certify pursuant to Pa.R.C.P. 205.4 that
                                          a hard copy hereof was properly signed and,
                                          where applicable, verified. /s/ JLF
                                          _______________________________________
                                          JAY LAWRENCE FULMER, ESQUIRE
                                          ATTORNEY FOR PLAINTIFF


DATE: MAY         , 2021

COPY SERVED UPON DEFENSE COUNSEL VIA E-FILING




____________________________________________________________________________________________
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                  . Pursuant to Pa.R.C.P. --
                  I hereby certify that I have served a copy of the
                  foregoing document upon all other parties or
                  their attorneys by -
                  ☒ regular mail and/or
                  ☒ electronically/e-mail (PDF format)
                  ☐ certified mail
                  ☐ facsimile
                  ☐ other




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                                VERIFICATION
                           PURSUANT TO Pa.R.C.P. 1024



      JAY LAWRENCE FULMER, ESQUIRE, hereby states that he is the

attorney for the party filing the foregoing document; that he makes this

verification as an attorney because the party he represents lacks sufficient

knowledge or information upon which to make a verification and/or because he

has greater personal knowledge of the information or belief than that of the

party for whom he makes this verification; and/or because the party for whom

he makes this verification is outside the jurisdiction of the Court and

verification cannot be obtained within the time allowed for the filing of the

pleading; and that he has sufficient knowledge or information or belief, based

upon his investigation as counsel of the matters averred or denied in the

foregoing document; and that this Verification is made subject to the penalties

of 18 Pa. C.S. §4904, relating to unsworn falsification to authorities.


                                          Respectfully submitted,
                                          I hereby certify pursuant to Pa.R.C.P. 205.4 that
                                          a hard copy hereof was properly signed and,
                                          where applicable, verified. /s/ JLF
                                          _______________________________________
                                          JAY LAWRENCE FULMER, ESQUIRE
                                          ATTORNEY FOR PLAINTIFF


DATE: MAY         , 2021




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                                                                 Case ID: 201200227
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                                                   REYNOLDS0046
                                                                 Case ID: 201200227
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                                                   REYNOLDS0044
                                                                 Case ID: 201200227
